              Case:09-35050-HRT Doc#:1 Filed:11/23/09                                                           Entered:11/23/09 16:52:00 Page1 of 38
B1 (Official Form 1)(1/08)
                                              United States Bankruptcy Court
                                                          District of Colorado                                                                                 Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                             Name of Joint Debtor (Spouse) (Last, First, Middle):
  Tiegs Family Trust


All Other Names used by the Debtor in the last 8 years                                                  All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                             (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                       Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                           (if more than one, state all)
  XX-XXXXXXX
Street Address of Debtor (No. and Street, City, and State):                                             Street Address of Joint Debtor (No. and Street, City, and State):
  31 N. Tejon St., Ste. 300
  Colorado Springs, CO
                                                                                       ZIP Code                                                                                      ZIP Code
                                                                                     80903
County of Residence or of the Principal Place of Business:                                              County of Residence or of the Principal Place of Business:
  El Paso
Mailing Address of Debtor (if different from street address):                                           Mailing Address of Joint Debtor (if different from street address):


                                                                                       ZIP Code                                                                                      ZIP Code

Location of Principal Assets of Business Debtor                    1125 Cambrook Court
(if different from street address above):                          Monument, CO 80132


                   Type of Debtor                                       Nature of Business                                         Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                     (Check one box)                                            the Petition is Filed (Check one box)
                   (Check one box)                              Health Care Business                                  Chapter 7
                                                                Single Asset Real Estate as defined                   Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                         in 11 U.S.C. § 101 (51B)                                                               of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                             Chapter 11
                                                                Railroad
                                                                                                                      Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                          Stockbroker
                                                                                                                      Chapter 13                       of a Foreign Nonmain Proceeding
                                                                Commodity Broker
    Partnership
                                                                Clearing Bank
    Other (If debtor is not one of the above entities,          Other                                                                             Nature of Debts
    check this box and state type of entity below.)                                                                                                (Check one box)
                                                                        Tax-Exempt Entity
 Trust                                                                 (Check box, if applicable)                     Debts are primarily consumer debts,                 Debts are primarily
                                                                Debtor is a tax-exempt organization                   defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                under Title 26 of the United States                   "incurred by an individual primarily for
                                                                Code (the Internal Revenue Code).                     a personal, family, or household purpose."

                                 Filing Fee (Check one box)                                             Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                        Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                               to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                             A plan is being filed with this petition.
                                                                                                               Acceptances of the plan were solicited prepetition from one or more
                                                                                                               classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                              THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

    1-            50-           100-           200-       1,000-        5,001-        10,001-       25,001-      50,001-        OVER
    49            99            199            999        5,000        10,000         25,000        50,000       100,000       100,000
Estimated Assets

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
Estimated Liabilities

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
             Case:09-35050-HRT Doc#:1 Filed:11/23/09                                         Entered:11/23/09 16:52:00 Page2 of 38
B1 (Official Form 1)(1/08)                                                                                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Tiegs Family Trust
(This page must be completed and filed in every case)
                       All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                            Case Number:                         Date Filed:
Where Filed: US District Court for the District of Colorado          09-33476 HRT                         11/04/09
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                     Exhibit A                                                                                  Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X
                                                                                            Signature of Attorney for Debtor(s)                     (Date)



                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                     (Name of landlord that obtained judgment)




                                     (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(1/08)                                                                                                                                               Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Tiegs Family Trust
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                             (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.

                                                                                           X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Julie Cliff CA
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Julie Cliff CA 226443                                                                    debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Bettencourt Cliff, P.C.
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      4291 Austin Bluffs Parkway, Suite 104
      Colorado Springs, CO 80918                                                               Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                                 Email: jbcliff@comcast.net
      (719) 465-2780 Fax: (719) 465-2781
     Telephone Number
     November 23, 2009
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X    /s/ Darel A. Tiegs
     Signature of Authorized Individual
      Darel A. Tiegs                                                                           If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
      Co-Trustee                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
      November 23, 2009
     Date
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B7 (Official Form 7) (12/07)



                                                                  United States Bankruptcy Court
                                                                                  District of Colorado
 In re       Tiegs Family Trust                                                                                  Case No.
                                                                                             Debtor(s)           Chapter      11


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE




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                                                                                                                                                             2

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                            AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                       AMOUNT PAID            OWING

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
               both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                      AMOUNT
                                                                                   DATES OF                            PAID OR
                                                                                   PAYMENTS/                         VALUE OF          AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                        TRANSFERS            OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                      AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT                AMOUNT PAID            OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY           STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                        AND LOCATION              DISPOSITION

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE OF
      BENEFIT PROPERTY WAS SEIZED                                               DATE OF SEIZURE              PROPERTY
 Colorado Capital Bank                                                          09/21/2009            63500 Hwy 96 East, Boone, CO 81025
 2 S Cascade Ave., Ste. 150
 Colorado Springs, CO 80903

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                  PROPERTY


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                                                                                                                                                              3

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                      DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT     VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                     DATE OF PAYMENT,                       AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
     OF PAYEE                                                                           THAN DEBTOR                            OF PROPERTY
 Bettencourt Cliff, P.C.                                                          11/17/09                             $6,039.00
 4291 Austin Bluffs Parkway, Suite 104
 Colorado Springs, CO 80918

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                        DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                           AND VALUE RECEIVED




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                                                                                                                                                               4
    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                               AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF            VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)           IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,            AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                    OR CLOSING
 Key Bank                                                                         Money Market Account #XXXXXXXX6772    $0 closed 06/30/2009
 PO Box 22114
 Albany, NY 12201

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                     DESCRIPTION              DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                     OF CONTENTS               SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                        AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                    DESCRIPTION AND VALUE OF PROPERTY              LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                             DATES OF OCCUPANCY




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                                                                                                                                                             5

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                  DATE OF                     ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                    NOTICE                      LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                  DATE OF                     ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                    NOTICE                      LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                        STATUS OR DISPOSITION




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                                                                                                                                                               6

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                     LAST FOUR DIGITS OF
                                     SOCIAL-SECURITY OR
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.                                                                           BEGINNING AND
 NAME                                (ITIN)/ COMPLETE EIN                  ADDRESS                    NATURE OF BUSINESS         ENDING DATES
 Tiegs Family Trust                  XX-XXXXXXX                            31 N Tejon St., Ste. 300   Real estate
                                                                           Colorado Springs, CO       invesetments, business
                                                                           80903                      in bio-diesel, agriculture
                                                                                                      investments,
                                                                                                      equesetrian
                                                                                                      investments,
                                                                                                      management

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                           DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                              DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                           ADDRESS




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                                                                                                                                                                7
    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                         DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST
 Colorado Biodiesel, LLC                                                        Membership                                50%
 31 N Tejon St., Ste. 300
 Colorado Springs, CO 80903
 Golden Eagle Hunting Preserve, LLC                                             Membership                                50%
 31 N Tejon St., Ste. 300
 Colorado Springs, CO 80903
 Mountaindale, LLC                                                              Membership                                25%
 31 N Tejon St., Ste. 300
 Colorado Springs, CO 80903
 Moutnain View Canon Estates, LLC                                               Membership                                50%
 31 N Tejon St., Ste. 300
 Colorado Springs, CO 80903
 Penmore, LLC                                                                   Membership                                20%
 31 N Tejon St., Ste. 300
 Colorado Springs, CO 80903
 Paradise Home Development, LLC                                                 Membership                                50%
 31 N Tejon St., Ste. 300
 Colorado Springs, CO 80903

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL




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                                                                                                                                                                      8
    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                                DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                              AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                             OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                                VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                       TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                             TAXPAYER IDENTIFICATION NUMBER (EIN)


           DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct to the best of my knowledge, information and belief.


 Date November 23, 2009                                                         Signature    /s/ Darel A. Tiegs
                                                                                             Darel A. Tiegs
                                                                                             Co-Trustee

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                 United States Bankruptcy Court
                                                                                 District of Colorado
 In re       Tiegs Family Trust                                                                                        Case No.
                                                                                         Debtor(s)                     Chapter        11


                                LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                       Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
             accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1)
             persons who come within the definition of "insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of
             the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims.
             If a minor child is one of the creditors holding the 20 largest unsecured claims, state the child's initials and the name and
             address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
             name. See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                      (1)                                                    (2)                               (3)                      (4)                      (5)

 Name of creditor and complete                   Name, telephone number and complete                  Nature of claim (trade   Indicate if claim is    Amount of claim [if
 mailing address including zip                   mailing address, including zip code, of              debt, bank loan,         contingent,             secured, also state
 code                                            employee, agent, or department of creditor           government contract,     unliquidated,           value of security]
                                                 familiar with claim who may be contacted             etc.)                    disputed, or subject
                                                                                                                               to setoff
 Alvin Cohen                                     Alvin Cohen                                          Attorney fees                                    10,000.00
 Benjamin, Bain & Howard,                        Benjamin, Bain & Howard, LLC
 LLC                                             7315 E. Orchard Road, Suite E400
 7315 E. Orchard Road, Suite                     Englewood, CO 80111
 E400
 Englewood, CO 80111
 Arthur Porter                                   Arthur Porter                                        Legal services                                   3,784.66
 312 S Weber, Ste. B                             312 S Weber, Ste. B
 Colorado Springs, CO 80903                      Colorado Springs, CO 80903
 Black Hills Energy                              Black Hills Energy                                   Gas                                              296.11
 PO Box 4660                                     PO Box 4660
 Carol Stream, IL 60197                          Carol Stream, IL 60197
 Board of County                                 Board of County Commissioners-                       Tamarisk spraying                                16,000.00
 Commissioners-Fremont Co                        Fremont Co
 615 Macon Ave., Ste. 211                        615 Macon Ave., Ste. 211
 Canon City, CO 81212                            Canon City, CO 81212
 Capital One                                     Capital One                                          Ongoing business                                 1,764.26
 PO Box 60599                                    PO Box 60599                                         operations
 City Of Industry, CA 91716-                     City Of Industry, CA 91716-0599
 0599
 Capital One                                     Capital One                                          Ongoing business                                 6,134.59
 PO Box 60599                                    PO Box 60599                                         operations
 City Of Industry, CA 91716-                     City Of Industry, CA 91716-0599
 0599
 Chase                                           Chase                                                Ongoing business                                 3,419.03
 PO Box 94014                                    PO Box 94014                                         operations
 Palatine, IL 60094-4014                         Palatine, IL 60094-4014
 Chase                                           Chase                                                Ongoing business                                 9,705.22
 PO Box 94014                                    PO Box 94014                                         operations
 Palatine, IL 60094-4014                         Palatine, IL 60094-4014
 Colorado Machinery                              Colorado Machinery                                   Equipment repairs                                3,500.00
 685 E Enterprise Dr                             685 E Enterprise Dr
 Pueblo, CO 81007                                Pueblo, CO 81007
 Cullen A. Wheelock                              Cullen A. Wheelock                                   Legal services                                   1,900.00
 Attorney at Law                                 Attorney at Law
 31 N Tejon St., STe. 200                        31 N Tejon St., STe. 200
 Colorado Springs, CO 80903                      Colorado Springs, CO 80903

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B4 (Official Form 4) (12/07) - Cont.
 In re      Tiegs Family Trust                                                                                          Case No.
                                                                Debtor(s)

                                LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                                       (Continuation Sheet)

                      (1)                                                    (2)                               (3)                      (4)                      (5)

 Name of creditor and complete                   Name, telephone number and complete                  Nature of claim (trade   Indicate if claim is    Amount of claim [if
 mailing address including zip                   mailing address, including zip code, of              debt, bank loan,         contingent,             secured, also state
 code                                            employee, agent, or department of creditor           government contract,     unliquidated,           value of security]
                                                 familiar with claim who may be contacted             etc.)                    disputed, or subject
                                                                                                                               to setoff
 Dale J Hart                                     Dale J Hart                                          Certificate of Title                             50,000.00
 1496 Third Rd                                   1496 Third Rd                                        to 1950 Fort
 Pueblo, CO 81007                                Pueblo, CO 81007                                     Convertible - VIN                                (0.00 secured)
                                                                                                      #BOKC157049 -
                                                                                                      Title #14E452489
 El Paso County Treasurer                        El Paso County Treasurer                             Property taxes for                               8,338.10
 P.O. Box 2007                                   P.O. Box 2007                                        1125 Cambrook
 Colorado Springs, CO 80907-                     Colorado Springs, CO 80907-2007                      Court, Monument,
 2007                                                                                                 CO
 JA Cesare and Associates,                       JA Cesare and Associates, Inc.                       Gravel investgation                              1,547.50
 Inc.                                            7108 S Alton Way, Bldg. B                            drilling
 7108 S Alton Way, Bldg. B                       Centennial, CO 80112-2109
 Centennial, CO 80112-2109
 John Roth                                       John Roth                                                                                             260,000.00
 c/o Scott J. Mikulecky                          c/o Scott J. Mikulecky
 90 S Cascade Ave., Ste. 1500                    90 S Cascade Ave., Ste. 1500
 Colorado Springs, CO 80903                      Colorado Springs, CO 80903
 LWD, LLC                                        LWD, LLC                                             Vacant land                                      120,000.00
 31 N Tejon St., Ste. 400                        31 N Tejon St., Ste. 400                             located at 200 Hwy
 Colorado Springs, CO 80903                      Colorado Springs, CO 80903                           96 E, Boone, CO                                  (110,000.00
                                                                                                                                                       secured)
 Pueblo County Treasurer                         Pueblo County Treasurer                              Property taxes for                               2,700.00
 PO Box 953                                      PO Box 953                                           62100 Hwy 96 E,
 Pueblo, CO 81002                                Pueblo, CO 81002                                     Boone, CO
 Waldo I Morris                                  Waldo I Morris                                       Woorking capita                                  500,000.00
 4512 Lakeside Road                              4512 Lakeside Road                                   for, and
 Marion, IA 52302                                Marion, IA 52302                                     subsequent loan
                                                                                                      to, Bernard and
                                                                                                      Todd Hansen
 Waldo I. Morris                                 Waldo I. Morris                                      Working capital                                  500,000.00
 4512 Lakeside Road                              4512 Lakeside Road                                   for, and
 Marion, IA 52302                                Marion, IA 52302                                     subsequent loan,                                 (0.00 secured)
                                                                                                      to Bernard and
                                                                                                      Todd Hansen
 Wes Brooks                                      Wes Brooks                                           Accounting                                       1,000.00
 Brooks Financial Services,                      Brooks Financial Services, Inc.
 Inc.                                            PO Box 549
 PO Box 549                                      Lakota, ND 58344
 Lakota, ND 58344
 Zakhem Atherton                                 Zakhem Atherton                                      Legal services                                   64,417.53
 700 17th St., Ste. 2000                         700 17th St., Ste. 2000
 Denver, CO 80202                                Denver, CO 80202




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B4 (Official Form 4) (12/07) - Cont.
 In re      Tiegs Family Trust                                                                                    Case No.
                                                                Debtor(s)

                                LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                                       (Continuation Sheet)

                                                 DECLARATION UNDER PENALTY OF PERJURY
                                               ON BEHALF OF A CORPORATION OR PARTNERSHIP
                     I, the Co-Trustee of the Trust named as the debtor in this case, declare under penalty of perjury that I have read the
             foregoing list and that it is true and correct to the best of my information and belief.


 Date November 23, 2009                                                        Signature     /s/ Darel A. Tiegs
                                                                                             Darel A. Tiegs
                                                                                             Co-Trustee

          Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                           18 U.S.C. §§ 152 and 3571.




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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                  United States Bankruptcy Court
                                                                                   District of Colorado
  In re          Tiegs Family Trust                                                                                   Case No.
                                                                                                                ,
                                                                                               Debtor
                                                                                                                      Chapter                 11




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS                LIABILITIES           OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1             16,630,135.00


B - Personal Property                                             Yes                 3                   25,124.48


C - Property Claimed as Exempt                                    No                  0


D - Creditors Holding Secured Claims                              Yes                 3                                    12,511,199.70


E - Creditors Holding Unsecured                                   Yes                 2                                          11,038.10
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 5                                         883,850.89
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 3


I - Current Income of Individual                                  No                  0                                                                 N/A
    Debtor(s)

J - Current Expenditures of Individual                            No                  0                                                                 N/A
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            18


                                                                                Total Assets        16,655,259.48


                                                                                                 Total Liabilities         13,406,088.69




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Form 6 - Statistical Summary (12/07)


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                                                                  United States Bankruptcy Court
                                                                                District of Colorado
  In re           Tiegs Family Trust                                                                             Case No.
                                                                                                             ,
                                                                                           Debtor
                                                                                                                 Chapter                   11


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                     Amount

              Domestic Support Obligations (from Schedule E)

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)

              Student Loan Obligations (from Schedule F)

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)

                                                                                  TOTAL


              State the following:

              Average Income (from Schedule I, Line 16)


              Average Expenses (from Schedule J, Line 18)

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column

              4. Total from Schedule F


              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




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B6A (Official Form 6A) (12/07)


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  In re          Tiegs Family Trust                                                                                 Case No.
                                                                                                        ,
                                                                                          Debtor

                                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                        Husband,    Current Value of
                                                                                Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                 Description and Location of Property                           Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                       Community Deducting  any Secured
                                                                                                                   Claim or Exemption

Property located in Otero County                                                Fee simple                  -                  4,000,000.00          3,300,000.00

Property located in Austin, TX                                                  Equitable interest          -                  8,000,000.00          6,000,000.00

Property located at 1125 Cambrook Court,                                        Fee simple                  -                   850,000.00              551,064.70
Monument, CO 80132

Property located in Iowa - assignment of loan                                   Equitable interest          -                  3,000,000.00          1,500,000.00
documents by (1) LaSalle Bank National
Association, (2) Cook County Cookers, LLC, a
Kansas limited liablity company, (3) Flint Hills
Foods, LLC, a Kansas limited liability company, (4)
DW Enterprises, LC, a Kansas limited liability
company and (5) Bernard L. hansen (DW
Enterprises, Dennison Foods)

Salable, trasnferable conversation easement tax                                 Fee simple                  -                   270,000.00               75,000.00
credits

Property located in 62100 Hwy 96 E, Boone, CO                                   Equitable interest          -                   345,135.00              345,135.00

Vacant land located at 43322 Undercliff, Avondale,                              Fee simple                  -                    55,000.00               50,000.00
CO

Vacant land located at 200 Hwy 96 E, Boone, CO                                  Fee simple                  -                   110,000.00              120,000.00




                                                                                                        Sub-Total >       16,630,135.00         (Total of this page)

                                                                                                                Total >   16,630,135.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                        (Report also on Summary of Schedules)
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              Case:09-35050-HRT Doc#:1 Filed:11/23/09                                           Entered:11/23/09 16:52:00 Page18 of 38
B6B (Official Form 6B) (12/07)


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  In re          Tiegs Family Trust                                                                                     Case No.
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                          X

2.     Checking, savings or other financial                      Checkign account #XXXXX2474 located at Key                        -                           124.48
       accounts, certificates of deposit, or                     Bank, PO Box 22114, Albany< NY 12201
       shares in banks, savings and loan,
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                      X
       including audio, video, and
       computer equipment.

5.     Books, pictures and other art                         X
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                      X

7.     Furs and jewelry.                                     X

8.     Firearms and sports, photographic,                    X
       and other hobby equipment.

9.     Interests in insurance policies.                      X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.




                                                                                                                                   Sub-Total >              124.48
                                                                                                                       (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

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              Case:09-35050-HRT Doc#:1 Filed:11/23/09                                           Entered:11/23/09 16:52:00 Page19 of 38
B6B (Official Form 6B) (12/07) - Cont.




  In re          Tiegs Family Trust                                                                                     Case No.
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                       X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                                   Sub-Total >                  0.00
                                                                                                                       (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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              Case:09-35050-HRT Doc#:1 Filed:11/23/09                                           Entered:11/23/09 16:52:00 Page20 of 38
B6B (Official Form 6B) (12/07) - Cont.




  In re          Tiegs Family Trust                                                                                     Case No.
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           2007 BMW CV - VIN#4USBU33587LW72395 located                        -                     25,000.00
    other vehicles and accessories.                              at 1125 Cambrook Ct., Monument, CO 80132

                                                                 Certificate of Title to 1950 Fort Convertible - VIN                -                             0.00
                                                                 #BOKC157049 - Title #14E452489

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                      X
    not already listed. Itemize.




                                                                                                                                   Sub-Total >          25,000.00
                                                                                                                       (Total of this page)
                                                                                                                                        Total >         25,124.48
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                               (Report also on Summary of Schedules)
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 B6D (Official Form 6D) (12/07)


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   In re          Tiegs Family Trust                                                                                               Case No.
                                                                                                                      ,
                                                                                                     Debtor

                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                              O    N   I
                                                                D   H         DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                                 B   W            NATURE OF LIEN, AND                           I    Q   U                      PORTION, IF
                                                                T   J           DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                               DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                              G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                    C                OF PROPERTY
                                                                R
                                                                                    SUBJECT TO LIEN
                                                                                                                               E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No.                                                             06/01/2007                                                  E
                                                                                                                                    D

American National bank                                                  Deed of Trust
3033 E 1st Ave., Ste. 210
Denver, CO 80206                                                        Property located in Otero County
                                                               X -

                                                                         Value $                         4,000,000.00                         3,300,000.00                   0.00
Account No.                                                             01/2008

Cottonwood Sporting Clays, LLC                                          Purchase Money Security
4465 Kipling, Ste. 102
Wheat Ridge, CO 80033                                              Salable, trasnferable conversation
                                                               X - easement tax credits

                                                                         Value $                              270,000.00                         75,000.00                   0.00
Account No.                                                             12/29/2005

Dale F Lukassen                                                         Acqusition of property
940 S Celini Place
Pueblo, CO 81007                                                        Ranch land located in Boone, CO
                                                                    -

                                                                         Value $                                    0.00                              0.00                   0.00
Account No.                                                             12/29/2005

Dale F. Lukassen                                                        Acqusition of propert
940 S Celini Place
Pueblo, CO 81007                                                   Property located in 62100 Hwy 96 E,
                                                               X - Boone, CO

                                                                         Value $                              345,135.00                        345,135.00                   0.00
                                                                                                                            Subtotal
 2
_____ continuation sheets attached                                                                                                            3,720,135.00                   0.00
                                                                                                                   (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




   In re          Tiegs Family Trust                                                                                               Case No.
                                                                                                                      ,
                                                                                                     Debtor


                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                                 B
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                                                                                                                                               DEDUCTING
                                                                T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No.                                                             10/03/2008                                                  E
                                                                                                                                    D

Dale J Hart                                                             Purchase Money Security
1496 Third Rd
                                                                   Certificate of Title to 1950 Fort
Pueblo, CO 81007
                                                               X - Convertible - VIN #BOKC157049 - Title
                                                                   #14E452489
                                                                         Value $                                    0.00                         50,000.00           50,000.00
Account No.                                                             2008

LWD, LLC                                                                Purchase Money Security
31 N Tejon St., Ste. 400
Colorado Springs, CO 80903                                         Vacant land located at 200 Hwy 96 E,
                                                               X - Boone, CO

                                                                         Value $                              110,000.00                        120,000.00           10,000.00
Account No.                                                             Mortgage

Respond LLC                                                             Property located in Austin, TX
c/o Michael B. Levy
Attorney at Law
                                                               X -
1350 17th St., Ste. 316
Denver, CO 80202
                                                                         Value $                         8,000,000.00                         6,000,000.00                   0.00
Account No.                                                             Purchase Money Security

Ron and Laura Miller                                               2007 BMW CV -
4450 Garden Park Road                                              VIN#4USBU33587LW72395 located at
Canon City, CO 81212                                               1125 Cambrook Ct., Monument, CO
                                                               X - 80132

                                                                         Value $                               25,000.00                         20,000.00                   0.00
Account No.                                                             10/03/2008

Todd J Emerson                                                          Purchase Money Security
703 23rd Ave
Pueblo, CO 81006                                                   Vacant land located at 43322 Undercliff,
                                                               X - Avondale, CO

                                                                         Value $                               55,000.00                         50,000.00                   0.00
       1
Sheet _____    2
            of _____  continuation sheets attached to                                                                       Subtotal
                                                                                                                                              6,240,000.00           60,000.00
Schedule of Creditors Holding Secured Claims                                                                       (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




   In re          Tiegs Family Trust                                                                                               Case No.
                                                                                                                      ,
                                                                                                     Debtor


                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT         UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                          PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
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                                                                                                                                               DEDUCTING
                                                                T   J                                                          N    U   T                          ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No.                                                             Mortgage                                                    E
                                                                                                                                    D

Vectra Bank Colorado NA                                                 Property located at 1125 Cambrook
361 W Hwy 24                                                            Court, Monument, CO 80132
PO Box 39
                                                               X -
Woodland Park, CO 80866

                                                                         Value $                              850,000.00                        551,064.70                    0.00
Account No.                                                        01/20/2008
                                                                   Deed of Trust
                                                                   Property located in Iowa - assignment of
Waldo I Morris                                                     loan documents by (1) LaSalle Bank
4512 Lakeside Road                                                 National Association, (2) Cook County
                                                                   Cookers, LLC, a Kansas limited liablity
Marion, IA 52302
                                                               X - company, (3) Flint Hills Foods, LLC, a
                                                                   Kansas limited liability company, (4) DW

                                                                         Value $                         3,000,000.00                          1,500,000.00                   0.00
Account No.                                                             10/01/2007

Waldo I. Morris                                                         Non-Purchase Money Security
4512 Lakeside Road
Marion, IA 52302                                                   Working capital for, and subsequent
                                                               X - loan, to Bernard and Todd Hansen

                                                                         Value $                                    0.00                        500,000.00          500,000.00
Account No.




                                                                         Value $
Account No.




                                                                         Value $
       2
Sheet _____    2
            of _____  continuation sheets attached to                                                                       Subtotal
                                                                                                                                               2,551,064.70         500,000.00
Schedule of Creditors Holding Secured Claims                                                                       (Total of this page)
                                                                                                                             Total            12,511,199.70         560,000.00
                                                                                                   (Report on Summary of Schedules)

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B6E (Official Form 6E) (12/07)


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  In re          Tiegs Family Trust                                                                                       Case No.
                                                                                                              ,
                                                                                           Debtor

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                1   continuation sheets attached
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 B6E (Official Form 6E) (12/07) - Cont.




   In re          Tiegs Family Trust                                                                                             Case No.
                                                                                                                    ,
                                                                                                     Debtor

                      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
                                                                                                                             Taxes and Certain Other Debts
                                                                                                                              Owed to Governmental Units
                                                                                                                                          TYPE OF PRIORITY
                                                                C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                   O                                                            O    N   I                      AMOUNT NOT
                                                                D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                  E   H          DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   W
                                                                             AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                             OF CLAIM
           AND ACCOUNT NUMBER                                   T   J                                                        N    U   T                                AMOUNT
                                                                O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                               R   C                                                        E    D   D
                                                                                                                             N    A
                                                                                                                                                                       PRIORITY
                                                                                                                             T    T
Account No.                                                             11/30/2009                                                E
                                                                                                                                  D

El Paso County Treasurer                                                Property taxes for 1125 Cambrook
P.O. Box 2007                                                           Court, Monument, CO                                                                  0.00
Colorado Springs, CO 80907-2007
                                                                    -

                                                                                                                                                 8,338.10              8,338.10
Account No.                                                             06/30/2009

Pueblo County Treasurer                                                 Property taxes for 62100 Hwy 96 E,
PO Box 953                                                              Boone, CO                                                                            2,700.00
Pueblo, CO 81002
                                                                    -

                                                                                                                                                 2,700.00                    0.00
Account No.                                                             Property taxes fro 43322 Undercliff,
                                                                        Avondale, CO
Pueblo County Treasurer
PO Box 953                                                                                                                                                   0.00
Pueblo, CO 81002
                                                                    -

                                                                                                                                                     0.00                    0.00
Account No.




Account No.




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Sheet _____    1
            of _____  continuation sheets attached to                                                                     Subtotal                           2,700.00
Schedule of Creditors Holding Unsecured Priority Claims                                                          (Total of this page)           11,038.10              8,338.10
                                                                                                                             Total                           2,700.00
                                                                                                   (Report on Summary of Schedules)             11,038.10            8,338.10

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               Case:09-35050-HRT Doc#:1 Filed:11/23/09                                                         Entered:11/23/09 16:52:00 Page26 of 38
 B6F (Official Form 6F) (12/07)


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   In re          Tiegs Family Trust                                                                                          Case No.
                                                                                                                          ,
                                                                                                        Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                            E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                     W
                 AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                         AMOUNT OF CLAIM
                                                                                 T   J                                                       N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R
                                                                                     C
                                                                                                                                             E   D   D
                                                                                                                                             N   A
Account No.                                                                              Attorney fees                                       T   T
                                                                                                                                                 E
                                                                                                                                                 D

Alvin Cohen
Benjamin, Bain & Howard, LLC                                                         -
7315 E. Orchard Road, Suite E400
Englewood, CO 80111
                                                                                                                                                                      10,000.00
Account No.                                                                              09/30/2009
                                                                                         Legal services
Arthur Porter
312 S Weber, Ste. B                                                                  -
Colorado Springs, CO 80903

                                                                                                                                                                        3,784.66
Account No.                                                                              Gas

Black Hills Energy
PO Box 4660                                                                          -
Carol Stream, IL 60197

                                                                                                                                                                          296.11
Account No.                                                                              06/2008
                                                                                         Tamarisk spraying
Board of County
Commissioners-Fremont Co                                                         X -
615 Macon Ave., Ste. 211
Canon City, CO 81212
                                                                                                                                                                      16,000.00

                                                                                                                                           Subtotal
 4
_____ continuation sheets attached                                                                                                                                    30,080.77
                                                                                                                                 (Total of this page)




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               Case:09-35050-HRT Doc#:1 Filed:11/23/09                                                         Entered:11/23/09 16:52:00 Page27 of 38
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Tiegs Family Trust                                                                                          Case No.
                                                                                                                          ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxx-xxxx-xxxx-3415                                                          11/10/2009                                              E
                                                                                         Ongoing business operations                             D

Capital One
PO Box 60599                                                                         -
City Of Industry, CA 91716-0599

                                                                                                                                                                     6,134.59
Account No. xxxx-xxxx-xxxx-5913                                                          11/18/2009
                                                                                         Ongoing business operations
Capital One
PO Box 60599                                                                         -
City Of Industry, CA 91716-0599

                                                                                                                                                                     1,764.26
Account No. xxxx-xxxx-xxxx-5513                                                          11/19/2009
                                                                                         Ongoing business operations
Chase
PO Box 94014                                                                         -
Palatine, IL 60094-4014

                                                                                                                                                                     9,705.22
Account No. xxxx-xxxx-xxxx-8045                                                          11/07/2009
                                                                                         Ongoing business operations
Chase
PO Box 94014                                                                         -
Palatine, IL 60094-4014

                                                                                                                                                                     3,419.03
Account No.                                                                              Equipment repairs

Colorado Machinery
685 E Enterprise Dr                                                              X -
Pueblo, CO 81007

                                                                                                                                                                     3,500.00

           1
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                   24,523.10
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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               Case:09-35050-HRT Doc#:1 Filed:11/23/09                                                         Entered:11/23/09 16:52:00 Page28 of 38
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Tiegs Family Trust                                                                                          Case No.
                                                                                                                          ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
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Account No.                                                                              Telephone/cable/internet                                E
                                                                                                                                                 D

Comcast Cable
PO Box 34227                                                                         -
Seattle, WA 98124

                                                                                                                                                                       160.00
Account No.

Cottonwood Sporting Clays, LLC
                                                                                     -



                                                                                                                                                                           0.00
Account No.                                                                              2007/2008
                                                                                         Legal services
Cullen A. Wheelock
Attorney at Law                                                                      -
31 N Tejon St., STe. 200
Colorado Springs, CO 80903
                                                                                                                                                                     1,900.00
Account No.                                                                              2006 and 2007
                                                                                         Gravel investgation drilling
JA Cesare and Associates, Inc.
7108 S Alton Way, Bldg. B                                                            -
Centennial, CO 80112-2109

                                                                                                                                                                     1,547.50
Account No.

John Roth
c/o Scott J. Mikulecky                                                               -
90 S Cascade Ave., Ste. 1500
Colorado Springs, CO 80903
                                                                                                                                                                 260,000.00

           2
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                 263,607.50
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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               Case:09-35050-HRT Doc#:1 Filed:11/23/09                                                         Entered:11/23/09 16:52:00 Page29 of 38
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Tiegs Family Trust                                                                                          Case No.
                                                                                                                          ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                           E   D   D
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Account No.                                                                              11/19/2009                                              E
                                                                                         Electricy                                               D

Mountain View Electric Assn
PO Box 1600                                                                          -
Limon, CO 80828

                                                                                                                                                                       221.99
Account No.

The Greenlands Reserve
c/o David A. Helmer, Esq.                                                            -
Helmer & McElyea, LLC
PO Box 868
Frisco, CO 80433                                                                                                                                                           0.00
Account No.

The Greenlands Reserve
c/o David A. Helmer, Esq.                                                            -
Helmer & McElyea, LLC
PO Box 868
Frisco, CO 80433                                                                                                                                                           0.00
Account No.                                                                              10/01/2007
                                                                                         Woorking capita for, and subsequent loan to,
Waldo I Morris                                                                           Bernard and Todd Hansen
4512 Lakeside Road                                                               X -
Marion, IA 52302

                                                                                                                                                                 500,000.00
Account No.                                                                              Accounting

Wes Brooks
Brooks Financial Services, Inc.                                                      -
PO Box 549
Lakota, ND 58344
                                                                                                                                                                     1,000.00

           3
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                 501,221.99
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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               Case:09-35050-HRT Doc#:1 Filed:11/23/09                                                         Entered:11/23/09 16:52:00 Page30 of 38
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Tiegs Family Trust                                                                                                Case No.
                                                                                                                           ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                             O                                                                  O   N   I
                    MAILING ADDRESS                                              D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
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                   (See instructions above.)                                     R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No.                                                                              09/30/2009                                                     E
                                                                                         Legal services                                                 D

Zakhem Atherton
700 17th St., Ste. 2000                                                          X -
Denver, CO 80202

                                                                                                                                                                          64,417.53
Account No.




Account No.




Account No.




Account No.




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Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                           Subtotal
                                                                                                                                                                          64,417.53
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)              883,850.89


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                 Case:09-35050-HRT Doc#:1 Filed:11/23/09                                 Entered:11/23/09 16:52:00 Page31 of 38
B6G (Official Form 6G) (12/07)


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  In re             Tiegs Family Trust                                                                          Case No.
                                                                                                      ,
                                                                                    Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.

                     HCIC Holding Company, LLC                                           Sale of Land: 43322 Undercliff, Avondale, CO and
                     2000 S Colorado Blvd., Annex #200                                   sale of water shares from Huerfano Cucuaras
                     Denver, CO 80222                                                    Irrigation Company (11/20/2009)




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                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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               Case:09-35050-HRT Doc#:1 Filed:11/23/09                              Entered:11/23/09 16:52:00 Page32 of 38
B6H (Official Form 6H) (12/07)


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  In re          Tiegs Family Trust                                                                      Case No.
                                                                                               ,
                                                                                Debtor

                                                                      SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                     NAME AND ADDRESS OF CREDITOR

                  Alvin Cohen                                                      Respond LLC
                  Benjamin, Bain & Howard, LLC                                     c/o Michael B. Levy
                  7315 E. Orchard Road, Suite E400                                 Attorney at Law
                  Englewood, CO 80111                                              1350 17th St., Ste. 316
                                                                                   Denver, CO 80202

                  Bernad L. Hansen                                                 Waldo I Morris
                  Flint Hills Foods                                                4512 Lakeside Road
                  1300 Kaw Valley Rd                                               Marion, IA 52302
                  Wamego, KS 66547

                  Clarence White                                                   Board of County Commissioners-Fremont Co
                  3887 40th Lane                                                   615 Macon Ave., Ste. 211
                  Avondale, CO 81002                                               Canon City, CO 81212

                  Darel A and Kathleen C Tiegs                                     Vectra Bank Colorado NA
                  1125 Cambrook Court                                              361 W Hwy 24
                  Monument, CO 80132                                               PO Box 39
                                                                                   Woodland Park, CO 80866

                  Darel A and Kathleen C Tiegs                                     Waldo I. Morris
                  31 N Tejon St., Ste. 300                                         4512 Lakeside Road
                  Colorado Springs, CO 80903                                       Marion, IA 52302

                  Darel A and Kathleen C Tiegs                                     Waldo I Morris
                  31 N Tejon St., Ste. 300                                         4512 Lakeside Road
                  Colorado Springs, CO 80903                                       Marion, IA 52302

                  Darel A and Kathleen C Tiegs                                     Board of County Commissioners-Fremont Co
                  31 N Tejon St., STe. 300                                         615 Macon Ave., Ste. 211
                  Colorado Springs, CO 80903                                       Canon City, CO 81212

                  Darel A Tiegs                                                    American National bank
                  31 N Tejon St., Ste. 300                                         3033 E 1st Ave., Ste. 210
                  Colorado Springs, CO 80903                                       Denver, CO 80206

                  Darel A Tiegs                                                    Zakhem Atherton
                  31 N Tejon St                                                    700 17th St., Ste. 2000
                  Colorado Springs, CO 80903                                       Denver, CO 80202

                  Darel A Tiegs                                                    LWD, LLC
                  31 N Tejon St., Ste. 300                                         31 N Tejon St., Ste. 400
                  Colorado Springs, CO 80903                                       Colorado Springs, CO 80903

                  Darel A. Tiegs                                                   Cottonwood Sporting Clays, LLC
                  31 N Tejon St., Ste. 300                                         4465 Kipling, Ste. 102
                  Colorado Springs, CO 80903                                       Wheat Ridge, CO 80033



       2
               continuation sheets attached to Schedule of Codebtors
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              Case:09-35050-HRT Doc#:1 Filed:11/23/09                                         Entered:11/23/09 16:52:00 Page33 of 38




  In re          Tiegs Family Trust                                                                               Case No.
                                                                                                        ,
                                                                                         Debtor

                                                                      SCHEDULE H - CODEBTORS
                                                                                (Continuation Sheet)


                    NAME AND ADDRESS OF CODEBTOR                                             NAME AND ADDRESS OF CREDITOR


                    Darel A. Tiegs                                                           Colorado Machinery
                    31 N Tejon St., Ste. 300                                                 685 E Enterprise Dr
                    Colorado Springs, CO 80903                                               Pueblo, CO 81007

                    Elena A. and Clarence White                                              American National bank
                    3887 40th Lane                                                           3033 E 1st Ave., Ste. 210
                    Avondale, CO 81022                                                       Denver, CO 80206

                    Jeffrey Weiss                                                            Respond LLC
                    839 Diamond Ridge Circle                                                 c/o Michael B. Levy
                    Castle Rock, CO 80108                                                    Attorney at Law
                                                                                             1350 17th St., Ste. 316
                                                                                             Denver, CO 80202

                    Kathleen C. Tiegs                                                        American National bank
                    31 N Tejon St., STe. 300                                                 3033 E 1st Ave., Ste. 210
                    Colorado Springs, CO 80903                                               Denver, CO 80206

                    Murphy Ranchlands LLC                                                    American National bank
                    31 N Tejon St., Ste. 300                                                 3033 E 1st Ave., Ste. 210
                    Colorado Springs, CO 80903                                               Denver, CO 80206

                    Penmore LLC                                                              Ron and Laura Miller
                    31 N Tejon St., Ste. 300                                                 4450 Garden Park Road
                    Colorado Springs, CO 80903                                               Canon City, CO 81212
                      vehicle used for company business

                    River Edge Outdoors, LLC                                                 Todd J Emerson
                    411 W 6th Street                                                         703 23rd Ave
                    Pueblo, CO 81003                                                         Pueblo, CO 81006

                    Rivers Edge Outdoor, LLC                                                 Dale J Hart
                    411 W 6th Street                                                         1496 Third Rd
                    Pueblo, CO 81003                                                         Pueblo, CO 81007

                    Robert Bitterli                                                          Respond LLC
                    17500 Whippoorwill Trail                                                 c/o Michael B. Levy
                    Lago Vista, TX 78645                                                     Attorney at Law
                                                                                             1350 17th St., Ste. 316
                                                                                             Denver, CO 80202

                    Stonewall Enterprises                                                    Dale F. Lukassen
                    3887 40th Lane                                                           940 S Celini Place
                    Avondale, CO 81002                                                       Pueblo, CO 81007

                    Stonewall Enterprises, Inc.                                              American National bank
                    3887 40th Lane                                                           3033 E 1st Ave., Ste. 210
                    Avondale, CO 81022                                                       Denver, CO 80206

                    Stonewall Enterprises, Inc.                                              Board of County Commissioners-Fremont Co
                    3887 40th Lane                                                           615 Macon Ave., Ste. 211
                    Avondale, CO 81002                                                       Canon City, CO 81212




     Sheet      1      of 2         continuation sheets attached to the Schedule of Codebtors

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              Case:09-35050-HRT Doc#:1 Filed:11/23/09                                         Entered:11/23/09 16:52:00 Page34 of 38




  In re          Tiegs Family Trust                                                                              Case No.
                                                                                                        ,
                                                                                         Debtor

                                                                      SCHEDULE H - CODEBTORS
                                                                                (Continuation Sheet)


                    NAME AND ADDRESS OF CODEBTOR                                             NAME AND ADDRESS OF CREDITOR


                    Tiegs Ranchlands, LLC                                                    American National bank
                    31 N Tejon St., Ste. 300                                                 3033 E 1st Ave., Ste. 210
                    Colorado Springs, CO 80903                                               Denver, CO 80206




     Sheet      2      of 2         continuation sheets attached to the Schedule of Codebtors

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          Case:09-35050-HRT Doc#:1 Filed:11/23/09                                                 Entered:11/23/09 16:52:00 Page35 of 38
B6 Declaration (Official Form 6 - Declaration). (12/07)

                                                                  United States Bankruptcy Court
                                                                                  District of Colorado
 In re       Tiegs Family Trust                                                                                   Case No.
                                                                                             Debtor(s)            Chapter    11




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP




                      I, the Co-Trustee of the Trust named as debtor in this case, declare under penalty of perjury that I have read
             the foregoing summary and schedules, consisting of 20 sheets, and that they are true and correct to the best of
             my knowledge, information, and belief.




 Date November 23, 2009                                                         Signature    /s/ Darel A. Tiegs
                                                                                             Darel A. Tiegs
                                                                                             Co-Trustee

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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              Case:09-35050-HRT Doc#:1 Filed:11/23/09                                           Entered:11/23/09 16:52:00 Page36 of 38



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                                                                  United States Bankruptcy Court
                                                                                District of Colorado
  In re          Tiegs Family Trust                                                                                   Case No.
                                                                                                           ,
                                                                                           Debtor
                                                                                                                      Chapter                   11




                                                          LIST OF EQUITY SECURITY HOLDERS
     Following is the list of the Debtor's equity security holders which is prepared in accordance with Rule 1007(a)(3) for filing in this chapter 11 case.


       Name and last known address                                                       Security                Number            Kind of
       or place of business of holder                                                     Class                of Securities       Interest

      Kathleen Tiegs                                                                                                             Settlor and
      1125 Cambrook Court                                                                                                        Co-Trustee
      Monument, CO 80132




      DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
                   I, the Co-Trustee of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
              foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.


     Date         November 23, 2009                                                          Signature /s/ Darel A. Tiegs
                                                                                                       Darel A. Tiegs
                                                                                                       Co-Trustee


              Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                                18 U.S.C §§ 152 and 3571.




      0       continuation sheets attached to List of Equity Security Holders
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                                                                  United States Bankruptcy Court
                                                                                  District of Colorado
 In re       Tiegs Family Trust                                                                                 Case No.
                                                                                             Debtor(s)          Chapter    11




                                                 VERIFICATION OF CREDITOR MATRIX


I, the Co-Trustee of the Trust named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:        November 23, 2009                                                 /s/ Darel A. Tiegs
                                                                                Darel A. Tiegs/Co-Trustee
                                                                                Signer/Title




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                                                                                                                                               L.B.F. Misc. SCRA Declaration


                                                                  United States Bankruptcy Court
                                                                                  District of Colorado
 In re       Tiegs Family Trust                                                                                    Case No.
                                                                                             Debtor(s)             Chapter       11




               DECLARATION PURSUANT TO SERVICEMEMBERS CIVIL RELIEF ACT OF 2003
To be completed by the Debtor:

        Pursuant to the Servicemembers Civil Relief Act of 2003 ("SCRA"), I,                                      Darel A. Tiegs       , the undersigned
debtor, state that:

Please check one:

                  I am entitled to the protections of SCRA. The basis for my eligibility under SCRA is                                         .

             or

                  I am not entitled to the protections of the SCRA.

To be completed by the Joint Debtor, if applicable:

             Pursuant to the Servicemembers Civil Relief Act of 2003 ("SCRA"), I,                                    , the undersigned debtor, state that:

Please check one:

                  I am entitled to the protections of SCRA. The basis for my eligibility under SCRA is                                         .

             or

                  I am not entitled to the protections of the SCRA.



 Date November 23, 2009                                                         Signature    /s/ Darel A. Tiegs
                                                                                             Darel A. Tiegs
                                                                                             Co-Trustee




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